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         EXHIBIT 1
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                          INMATE TRANSFER


TRANSFER PROCEDURES. Transfers (also known as redesignations)
are used to move inmates from one institution to another as
needed, with each type of transfer having a specific
objective. The following are some of the more frequent
reasons for a transfer:

    •     institution classification;
    •     nearer release;
    •     disciplinary/close supervision;
    •     adjustment;
    •     medical/psychological treatment;
    •     temporary transfers;
    •     training purposes/program participation;
    •     Institution Hearing Program;
    •     pre-release; and,
    •     transfers from CCC’s.

  After review and approval by the Unit Team, a transfer
request is submitted via the Request for Transfer/Application
of Management Variable (409) to the DSCC.   The procedures for
completing the 409 are outlined below and may only be waived
or modified with the approval of the Assistant Director,
Correctional Programs Division, Washington, D.C. or his/her
designee.

  1. Inmate’s Medical Status. Include current, complete, and
accurate available information concerning any medical problem
that might affect redesignation;

  2. Institution Adjustment. Include a brief description of the
inmate's adjustment during this period of incarceration with
emphasis on recent adjustment;

  3. Rational for Referral. Include a complete, specific
justification and support for the requested action;

  4. Parole Hearing Scheduled. Indicate whether or not the
inmate is eligible for a parole hearing. If yes, indicate the
date of the hearing. (See SALLYPORT for a current listing of
parole/non-parole institutions).

  5. Past or Present Behavior and/or Management Concerns. Note
any past or present behavior and/or management concerns which
may affect placement (i.e., history of arrests or disruptive
behavior
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which may not have resulted in a conviction, inmates
preference regarding this request, etc.).    Also note any
Security Threat Group concerns/associations. In addition, it is
necessary for staff to closely review each case submitted for
any CIM concerns. Any CIM concerns should be noted on the 409
if applicable.
However, it is not necessary for staff to route a Request for
CIM Activity Clearance with each transfer request since CIM
activity clearance is included in the redesignation for all
CIM assignments except WITSEC cases.   Redesignations between
same security level institutions are discouraged, except for
CIM purposes, nearer release purposes, or other unusual
circumstances. Copies of all transfer requests for Disruptive
Group Members will be forwarded to the Intelligence Section,
Central Office, via GroupWise upon approval of the transfer.
Additionally, the institution Special Investigative
Supervisor should also receive a copy of the transfer
request; and

  6. BP-337/BP-338 Discrepancies. Include a brief description
of any scoring changes between the BP-337 and BP-338.

  Complete all required information, then route the request
through normal institutional review channels for approval by
the CEO.           After approval by the CEO, it may be routed
to the DSCC Administrator from the unit’s mailbox.    The Unit
Team will enter the appropriate “DST” assignment (see below)
into SENTRY as confirmation that a redesignation request has
been submitted to the DSCC or OMDT.     Enter this SENTRY
assignment under the "DST" category using the “Update Inmate
Assignment” transaction.

     •    Enter “W REDES R” if the transfer request is
          for a routine transfer.

     •    Enter “W REDES M” if the transfer request
          requires a review by the OMDT (Medical
          Designator).

  Once the e-mail requesting redesignation is received,
DSCC staff will at a minimum review the following SENTRY
transactions to determine if the inmate is appropriate for
redesignation:

          CIM Clearance and Separatee Data;
          Inmate Load Data;
          Inmate Profile;
          Custody Classification Form;
          Security/Designation Data Form; and,
          Chronological Disciplinary Record.

  If the transfer is approved, DSCC staff will enter the
information and the appropriate destination (DST) assignment in
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SENTRY on the “Enter Redesignation” screen and will also note
the approved institution transfer code. The method of
transportation is at the discretion of the Warden.     Should a
change in DST be required, DSCC staff will make the change in
SENTRY prior to the inmate’s arrival at the designated
institution.

  If the transfer is denied, DSCC staff will indicate the
denial on the “Update Inmate Remarks” screen and will also
delete the “W REDES” from SENTRY. Unit staff should closely
monitor SENTRY for deletions of the “W REDES” transaction.

1. INSTITUTION CLASSIFICATION TRANSFERS. These transfers are
typically referred to as either “Lesser Security” (Code 308)
transfers or “Greater Security” (Code 307) transfers.

  a.    Security Level Changes

         (1) When a decrease in the inmate’s security level is
       indicated by the Custody Classification Form, transfer
       of the inmate to a lower security level institution
       should be considered.

         (2) Likewise, an increased security level may be
       indicated in a similar fashion.   The security total may
       increase to a higher security level range.

  If an updated security scoring, combined with Public Safety
Factors, indicate that an inmate is rated at a different
security level, the inmate must be referred to the DSCC for
either transfer or application of a Management Variable.    For
example, if an inmate in a Low security level institution is
reclassified to Minimum security, the case must be referred for
transfer or application of a Management Variable. If transfer is
denied, DSCC staff will apply an appropriate Management Variable
and add a Management Security Level, if applicable.

  b. Custody Level Changes. During an inmate's custody review,
a custody level may be increased or decreased (ordinarily, only
one level at a time) indicating a transfer is appropriate. For
example:

         (1) A Medium security level inmate has OUT custody,
       and becomes eligible for COMMUNITY custody. If the Unit
       Team decides to reduce custody, the inmate would normally
       be referred for redesignation to a Low or Minimum
       security level facility, since Medium security level
       institutions do not house COMMUNITY custody inmates. If
       approved for transfer by the DSCC, the Management
       Variable of Lesser Security will be applied and the
       Management Security Level will be changed accordingly.
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       (2) An inmate's transfer to a higher security
     institution could be triggered by an increase in custody
     needs. For example, a Medium security level inmate with
     IN custody becomes eligible for a custody increase. The
     team agrees to increase the custody to Maximum.      Since
     Medium security level facilities are not authorized to
     house Maximum custody inmates, the inmate must be
     referred for transfer to a High security level
     institution and the MSL changed in accordance with the
     application of an MGTV.

2. NEARER RELEASE TRANSFERS (Code 313). Nearer release
transfers move the inmate closer to their legal residence or
release destination, consistent with their security level.
Inmates may be considered for a nearer release transfer only
after serving 18 consecutive months of clear conduct in a
general population. Nearer release transfers should be
incorporated with “Lesser Security” transfers whenever
possible. Once the inmate has been transferred within 500
driving miles of his or her release residence, no further
referrals will be made for nearer release transfer
consideration. further referrals can be considered for nearer
release transfer consideration subject to bed availability, the
prisoner’s security designation, the prisoner’s programmatic
needs, the prisoner’s mental and medical health needs, any
request made by the prisoner related to faith- based needs,
recommendations of the sentencing court, and other security
concerns of the Bureau of Prisons.

Transfer to a facility in an area other than the inmate's
legal residence or sentencing district may be considered by
the inmate's Unit Team provided the inmate can provide strong
evidence of community and/or family support. Institution staff
should use sound correctional judgment when reviewing such
requests for transfer to ensure the transfer is consistent
with guidelines established in this chapter.

Inmates with an Order for Deportation, an Order of Removal, an
ICE detainer for an unadjudicated offense(s) or an ICE
detainer for a hearing will not be transferred for nearer
release purposes since they will be returning to the community
outside, rather than inside, the United States upon release.

3. WITSEC TRANSFERS. All movement of Witness Security cases is
coordinated exclusively through the Inmate Monitoring Section
of the Correctional Programs Branch, Central Office. Witness
Security cases will not be transferred without authorization
from that office.      Witness Security inmates who require
medical or mental health treatment at a medical center must
also be approved by the Medical Designator.

  If the inmate is classified as a WITSEC case, a copy of the
medical referral will be sent simultaneously to the Inmate
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Monitoring Section (IMS) and the Medical Designator. The Inmate
Monitoring Section will coordinate with the OMDT regarding an
appropriate placement. Placement will be based on available
medical resources, security needs, bed space availability, and
the inmate's need for medical care. IMS will enter activity
clearances for WITSEC cases.

4. DISCIPLINARY/CLOSE SUPERVISION TRANSFERS (Codes 309/323). An
act(s) of documented institution misconduct may result in an
inmate’s transfer to another institution, normally of greater
security, for disciplinary reasons. Wardens may recommend same
security level transfers only when placement at a greater
security level institution is not possible or other overriding
circumstances exist.

  Disciplinary or Close Supervision transfer requests will
be sent electronically to the DSCC Administrator and contain
the following information:

     (a)   Request for Transfer/Application of
           Management Variable (must be thorough and
           specific);

     (b)   Close Supervision investigation report, if
           requested; and,

     (c)   Intelligence data or supporting memorandum
           if requested.

 Institution staff should carefully review the management of
309/323 cases on an individual basis, applying sound
correctional judgment that considers the safety and security
of the inmate, the institution and its staff and the
community.

5. ADJUSTMENT TRANSFERS (Code 330). All transfer referrals
submitted as Code 330 transfers for adjustment purposes will be
reviewed by the DSCC. Adjustment purposes transfer requests will
be sent electronically to the DSCC Administrator via Form 409.
DSCC staff will ensure that the transfer does not meet the
requirements of an unverified protection transfer, Code 323.

6. MEDICAL AND PSYCHIATRIC TRANSFERS (Codes 331-336 and
338, 339). Medical designations and transfers are approved by
the Central Office Medical Designator, Office of Medical
Designations and Transportation (OMDT). The Central Office
Medical Designator assigns inmates to Medical Referral
Centers (MRC), institutions with medical resources, or non-
Bureau community care centers to provide needed medical
services.
Medical redesignations are initiated for inmates with acute
medical, surgical, or psychiatric condition, or for those
inmates who have chronic care needs that cannot be addressed at
the parent institution. Transfers will be classified as either
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(a) Emergency, (b) Routine/Urgent, or (c) Routine.

  If an inmate objects, either in writing or through his or her
attorney, to a transfer for psychiatric/mental health treatment,
the provisions of 18 U.S.C. § 4245 may apply. Staff will suspend
transfer action in such cases and refer the matter to their
Regional Counsel for review. The Regional Counsel will notify
the institution when the transfer action can be re-instituted.

  a. Emergency Transfer - An emergency transfer is a
medical, surgical, or psychiatric situation determined by
medical/mental health staff that requires immediate, direct
transportation.
This includes inmates not medically or psychiatrically capable
of transport via routine BOP air/surface transportation, e.g.,
bus, commercial air, or USMS/Bureau airlift. Direct
transportation is defined as air ambulance, air charter, or
ground ambulance and, in some instances, an institution
vehicle may be utilized.

  b. Routine/Urgent Transfer - A routine/urgent transfer is
initiated for medical, surgical, or psychiatric treatment
that is not an emergency, however must be transported
directly to a MRC, typically within two to three weeks of
designation.

Routine urgent transfers require direct transfer to the MRC
because of the acuity of their medical, surgical, or
psychiatric condition, or because MRC-based services need to be
initiated within an appropriate time frame. Holdover housing at
a county jail or Bureau general population institution is not
permissible.

  c. Routine Transfer - A routine transfer is initiated
for medical, surgical, or psychiatric treatment that is
not an emergency and time en-route is not a major factor.
      Routine transfers may travel by any available means.

  d. Procedures for Initiating Emergency, Routine/Urgent,
and Routine Transfer Requests.                 All transfer
requests for medical, surgical, or psychiatric designations
will be initiated via GroupWise on the Medical/Surgical and
Psychiatric Referral Request Form (BP-770) available on
SALLYPORT.                  The HSA, with input from the
Clinical Director and other providers involved with the
inmate’s care (e.g., mid-level providers, psychologists,
consultant physicians), is responsible for completing the BP-
770. The referring institution Warden must review the BP-770
and authorize the request for transfer.

The BP-770 serves as the redesignation, transportation, and
security worksheet from which the actual redesignation is
made. It will also serve as the emergency referral request
form, documentation of the inmate’s condition and the reason
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for transfer. Accordingly, it is essential that the BP-770 be
completed thoroughly and accurately.
The Medical Designator will review each request for
redesignation and approve or deny the requested transfer. Based
on clinical information and in consultation with the Medical
Director, the Medical Designator may change the urgency level of
the request.

OMDT will authorize CIM clearance (if appropriate) and enter
approved transfers to an appropriate BOP facility in SENTRY on
the “Enter Redesignation” screen.

  e. Completion of Treatment - All requests for
redesignation to the parent facility upon completion of
Medical/Surgical or Psychiatric treatment, or to another
medical facility for continuation of treatment, will be
initiated by the facility currently housing the inmate via
GroupWise on the Discharge Transfer Summary form. This form
serves as the designation, transportation, and security
worksheet from which the redesignation is made.

Medical cases are normally returned to their parent facility
unless the DSCC approves a change in the parent facility based
on clinical justification provided prior to redesignation by
the Medical Designator.

7. TEMPORARY TRANSFERS. It is sometimes necessary to
temporarily transfer an inmate to a contract facility or other
Bureau institution. This is normally for security reasons, when
the current institution does not have a Special Housing Unit. In
such cases, institution staff will forward a request for
temporary transfer approval from the Warden to the DSCC. The
request will include the rationale for transfer, with assurance
that the receiving facility is in agreement with the temporary
transfer. Transfer approval must be obtained prior to the
transfer during normal working hours, or if after hours, the
next work day.       A copy of this request will be routed to the
appropriate CCM office, if the transfer is to a contract
facility.

8. TRANSFERS FOR TRAINING PURPOSES OR PROGRAM PARTICIPATION.
An inmate is ordinarily only transferred for specialized
national programs not offered at the parent facility to
include:

     (a)   Residential Drug Treatment Program;
     (b)   Life Connections Program;
     (c)   Special Management Unit; and
     (d)   Sex Offender Programs.
When placement for program participation is inconsistent with
the assigned security level, the appropriate Management Variable
must be applied by the DSCC. Ordinarily, the inmate will be
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returned to the referring institution upon completion of the
specialized training or program if the inmate has 18 months or
more remaining until the inmate’s release date at the time of
the transfer. Further, if the program facility is nearer to the
inmate’s release residence, than is the referring institution,
the inmate may remain at the program facility.

9.   INSTITUTION HEARING PROGRAM TRANSFERS. The Institution
Hearing Program (IHP) is a coordinated effort by the Bureau,
ICE, and the EOIR to provide deportation or exclusion
proceedings to sentenced aliens as expeditiously as possible
after the date of conviction.                Eligibility,
designation, classification, and transfer procedures are
specifically outlined in Bureau directives. IHP sites have been
established for male and female non-U.S. citizens who are
serving federal sentences to ensure a deportation or exclusion
hearing is conducted early in their sentence instead of at the
end of their sentence.

10. TRANSFERS TO SATELLITE CAMPS. The Warden of an institution
with a satellite camp may transfer an inmate from the main
institution to the camp if the inmate is assigned an
appropriate security and/or custody level. The Camp
Administrator of a satellite camp adjacent to a Low or Medium
security level institution may temporarily transfer the inmate
to the main institution for disciplinary purposes (i.e.,
disciplinary segregation).          If a need for an immediate
redesignation arises, the inmate may be placed as a holdover in
Administrative Detention at the main institution while approval
is sought from the DSCC for redesignation to that institution
or another institution.

An inmate may travel via “unescorted transfer” from a low or
minimum security level institution to a minimum security level
institution if the inmate is a minimum security level inmate
and has OUT or COMMUNITY custody.                  The inmate’s
family (on the approved visiting list) may provide
transportation to the receiving institution only if the inmate
is transferring from a minimum security level institution to
another minimum security level institution, and if approved by
the Warden.                    The inmate’s family is expected
to bear all transportation costs.                  The inmate
must go directly from the sending institution to the receiving
institution.

  The Warden may authorize clearance for the transfer of a CIM
Case, with the exception of WITSEC cases, to the satellite camp
of the parent facility provided established regulations for
regular transfer authority have been met. (Refer to the CIM
Manual for more specific details).
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11. PRE-RELEASE TRANSFERS. Inmates in federal and contract
institutions may be transferred to CCCs in accordance with the
Program Statement Community Corrections Center (CCC)
Utilization and Transfer Procedure.    Inmates who have been
approved for CCC referral and are otherwise appropriate for
camp placement are to be transferred to a camp for intermediate
placement if at all practicable. Inmates should be encouraged
to complete all or most of the Institution Release Preparation
Program at the parent institution prior to transfer.

  The parent institution is to complete the CCC referral packet
and the camp should be closer to the inmate’s release residence.
This process should be completed to allow the inmate a minimum
of a 60-day placement at the camp prior to the reporting date at
the CCC. CCC referrals may be made 12 to 18 months in advance of
an anticipated reporting date with the concurrence of local CCM
offices. A notation that the CCC referral was made with a
specific projected placement date should be included in the
request for institution transfer, and the transfer request
should be prepared at the same time as the CCC referral.

12. TRANSFERS FROM CCC’S. When an inmate fails to meet the
conditions of CCC placement, the CCM should designate the
inmate to the parent institution with consideration given
to the following criteria for designation:

     (a)   local manday detention rates;
     (b)   availability of Bureau Detention Centers;
     (c)   budgetary constraints;
     (d)   projected release date; and,
     (e)   distance to parent facility.

  When returning the inmate to the parent institution is not
cost effective, the Community Corrections Office will refer the
case to the DSCC for designation.               DSCC staff, will
make the designation, and should consider the closest
institution commensurate with the inmate’s security needs. When
the DSCC designates the inmate to a facility, DSCC staff will
notify the parent institution to facilitate the forwarding of
the central file.

13. LONG-TERM DETAINEES. The authority for the redesignation of
long-term detainees rests with the Detention Services Branch,
Correctional Programs Division, Central Office. Refer to the
current Program Statement Mariel Cuban Detainees for transfer
procedures. Transfers for medical or mental health treatment
however, shall be referred to the Central Office Medical
Designator. Mariel Cubans who are sentenced, and therefore not
detainees, are handled in a routine fashion by DSCC staff.
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14.   IN-TRANSIT DATA FORM

  a. Upon notice that an inmate is being transferred or
temporarily released to an authorized law enforcement
officer (e.g., U.S. Marshal, state law enforcement officer,
or Bureau bus officer), the Unit Manager will ensure the
following:

      •     The top portion of the SENTRY automated In-
            Transit Data Form is accurate and the bottom
            portion is completed;

      •     CIM, YCA, DCYRA and any other important information
            is included in the space for "Non-Routine Security
            Needs;"

      •     CIM separation information is accurate, up-to-date
            and the SENTRY generated "CIM Clearance and Separatee
            Data" is attached to the In-Transit Data Form; and,

      •     The In-Transit Data Form is signed, dated, and
            forwarded to ISM staff who will attach a
            current inmate photograph and provide the form
            to the transporting officer.

NOTE:       The most recent In-Transit Data Form is maintained in
            the Inmate Central File. The “CIM Clearance and
            Separatee Data” display will not be filed with the
            In-Transit Data Form.

  b. Upon receipt of the In-Transit Data Form, ISM
staff will ensure the following:

      •     The information indicated on the top portion of
            the form is correct.    SENTRY update functions
            should be executed in the event that the data is
            not accurate;

      •     The Sentencing Remarks should include the offenses
            and the length of sentence as noted on the
            Judgment.
                                                                       If
            this information is not accurate, the load data
            should be updated;

      •     The Detainer Remarks should indicate all active
            detainers and the charge or offense. If the detainer
            has been litigated, information regarding the
            sentence imposed or time remaining to serve should
            be listed.
            If this information is not current, the
            commitment should be updated; and,
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      •     Initials are placed below the detainer remarks
            indicating that the information has been
            confirmed and is accurate and up-to-date.

15. TRANSFER CODES. The reason for transfer, as shown by one of
the codes listed at the end of this chapter, must be provided in
the top portion of the Transfer Order. If there is more than one
reason for transfer, the most pertinent code should be used.
Note that all Unescorted Transfers are Discharge Code -
FURL TRANS for Furlough Transfer.

16.   SPECIAL REQUIREMENTS

  a. An inmate having a detainer or pending charge may be
transferred to any institution for which he or she properly
classifies; however, generally when there is a formally filed
detainer, the inmate is not to be transferred to an
institution more distant from the detaining authority unless
there is substantial reason to believe the detainer will be
dropped or the pending charge will not be prosecuted.

  An inmate who indicates an intention to oppose extradition is
not to be transferred within the last 30 calendar days prior to
release to an institution in the state that placed the
detainer. Such cases, and others in which there are legal or
jurisdictional problems, are to be referred to the Regional
Correctional Programs   Administrator (See Program Statement
Inmate Systems Management Manual.

  b. When there is reason to transfer an inmate to a non-
federal institution for concurrent service of federal and
state sentences, the Warden will refer the case to the DSCC
Administrator. Refer to the Program Statement, Transfer of a
Prisoner to State Custody Prior to Release from the Federal
Sentence, for procedures.

17.   RELATIONSHIPS WITH OTHER AGENCIES

  a. U.S. Parole Commission. Parolable inmates must be housed
at a parolable institution in accordance with their parole
hearing requirements unless a hearing is no longer required.

  b. Administrative Office of the U.S. Courts. The court of
conviction may recommend to the Attorney General or the Bureau
that the defendant be retained at, or transferred to, a place
of confinement near the place of trial or the court of appeals,
for a period reasonably necessary to permit the defendant to
assist in the preparation of his or her appeal. Upon receiving
this recommendation, the Bureau will make every effort to place
the inmate in such a facility.            If a reason exists for
not placing the inmate in that facility, the court must be
notified of the situation and an attempt will be made to arrive
at an acceptable place of confinement.
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  Ordinarily, complicated jurisdictional or legal problems
should be resolved before transfer. Ordinarily, the sending Case
Management Coordinator will determine if an inmate has legal
action pending in the district in which confined. If so, the
individual should not be transferred without prior consultation
with the appropriate U.S. Attorney or Regional Counsel, or both.
Under Rule 23(a) of the Federal Rules of Appellate Procedures,
an inmate may not be transferred, pending review of a Habeas
Corpus proceeding commenced before a court, without the approval
of the court.
        Approval for transfer should be sought through the U.S.
Attorney or Regional Counsel in cases where a Habeas Corpus
petition is pending.

  c. Non-Federal Authorities. The decision to accept a state
prisoner in the Bureau is the responsibility of the DSCC
Administrator. When notifying the state authority of acceptance,
the state's contract code will be identified.

  The Office of Procurement, Central Office is responsible
for negotiating contracts for housing state prisoners. If it
is necessary to transfer a federal inmate to a local jail,
the sending institution must immediately notify the U.S.
Marshals and the CCM, preferably prior to the transfer.

  d. Military Inmates. The DSCC will accept a military or Coast
Guard inmate recommended for transfer to federal custody if,
after examination of all available information, the Bureau
can provide appropriate resources for the inmate's needs. The
DSCC will be responsible for the designation and redesignation
of all military and Coast Guard inmates accepted for service
of their sentence in Bureau custody.

  In some cases, special agreements or Memoranda of
Understanding (MOU) have been established with various
military branches.
These MOUs give direction to Bureau staff regarding which Bureau
regulations and policies apply to the military inmates. Pursuant
to 10 U.S.C. § 858, staff should be aware that military or Coast
Guard inmates confined in Bureau institutions are subject to the
same discipline and treatment as other inmates in those
institutions.

  Additionally, the Bureau will accept the sentence computation
provided by the military or Coast Guard authorities with the
exception that the Bureau will release such inmates, if not
paroled, under the provisions of 18 U.S.C. § 4164 provided they
have accrued good time deductions in excess of 180 days. DSCC
staff will refer to the appropriate military or Coast Guard
authorities for resolution of suspected sentence computation
errors or discrepancies, or challenges to the sentence
computation by the inmate or his or her representative, or both.
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  Once a military inmate comes into Bureau custody, all
notifications and requirements apply as if he or she were a
Bureau inmate, i.e., VWP notification, VCCLEA notification,
Sex Offender Notification, and IFRP requirements. Notification
to the military is also required at least 30 days prior to
the inmate’s release.

18. STATE PLACEMENT. Inmates who have exhausted available
resources within the Bureau, should be referred for placement
in an appropriate non-federal facility under contract with the
Bureau. Preparation of a transfer referral to merely “exhaust"
all BOP resources is not required when the inmate is clearly
not appropriate for any facility within the Bureau.

  a. Placement Procedures. The Warden will prepare a memorandum
to the DSCC Administrator outlining the reasons for state
placement of a federal inmate. This memorandum will be forwarded
along with supporting documentation and classification material
that will, at a minimum, include the following:

     (1) Presentence Investigation Report;

     (2) Two copies of the Judgment;

     (3) Relevant SENTRY data;

     (4) Current Progress Report; and,

     (5) Any Disciplinary or SIS Reports.

  If the DSCC Administrator approves an inmate for state
placement, DSCC staff will select a state correctional
system for referral.                              The system
selected will be based on the type of facilities within the
system; available bed space; court status (state systems that
are under injunction because of overcrowding or violations of
inmates' civil rights will not be used), and the state’s
willingness to accept federal boarders.           Once a suitable
state correctional system has been identified, DSCC staff will
forward the transfer packet to the appropriate Community
Corrections Regional Administrator, overseeing the state in
which the DSCC Administrator has identified for possible
placement.
DSCC staff may make up to two referrals per inmate at a time,
and continue this process until an appropriate placement is
secured. The CCRA will work through the local CCM office which
will refer the case for state placement.     The CCM office will
advise the CCRA of the response from the state
authority/Department of Corrections.    If approved for
placement, the CCRA will initiate SENTRY redesignation
procedures, and forward the inmate file to the CCM office. If
not approved for placement the CCRA will
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advise the DSCC Administrator, who will continue to secure a
suitable state placement.

  The CCM office with state monitoring authority in which the
inmate is eventually housed assumes full responsibility for the
inmate, including biennial reviews and subsequent transfer
authority. State placement materials containing, at a minimum, a
Progress Report, Presentence Investigation Report, and all
memoranda pertaining to the state placement, will be forwarded
to and maintained by the CCM office after the inmate has been
approved for placement.

  If an inmate is approved for permanent return to the Bureau,
the place of confinement will be determined by the DSCC. If an
inmate is returned to the Bureau for medical treatment, the
inmate will be returned to the state when the medical
treatment is completed.                    Occasionally,
returning the inmate to the originating state may not be
appropriate.   In such cases, the DSCC will obtain a new place
of incarceration for the inmate, after consultation with the
Office of Medical Designation and Transportation.

  b. Post-Placement Monitoring. After a federal inmate has been
placed in a state contract facility, the appropriate CCM will
review the case every two years beginning from the date of the
inmate’s arrival to determine whether the inmate is still
appropriate for state placement. The CCM's cover memorandum
containing a recommendation and a Progress Report provided by
the state contract facility will be forwarded to DSCC staff who
will make a determination for continued state placement or
return to Bureau custody.

  If the inmate requires continued placement in that state
facility, DSCC staff will enter a notation on the SENTRY “CIM
Clearance and Separatee Data” screen indicating such. However,
if state placement is no longer necessary, the inmate will be
redesignated to Bureau custody by the DSCC.

  Inmates serving a sentence of Death will also be reviewed for
continued state placement. Information received from Community
Corrections staff during the review of the contract may be used
to make a determination for continued state placement.

  The DSCC is responsible for monitoring and tracking state
placement requests received from BOP institutions. The CCRA will
prepare a quarterly report (statistical/narrative) which will be
forwarded to the DSCC Administrator.
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19. SECONDARY DESIGNATION. Upon initial designation, an inmate
may be designated specifically for a parole hearing or program
participation, and as a result, may require a secondary
designation upon completion of the activity. If upon completion
of the activity, staff determine that the secondary designation
is no longer appropriate, the DSCC will be notified for
reconsideration. Otherwise, when the conditions of the initial
designation are met, institution staff will prepare a Transfer
Order for signature of the sending institution Warden and
arrangements will be made for movement of the inmate through
routine procedures.

A secondary designation will not normally be made for cases
designated for medical or psychiatric treatment. The medical
center or reviewing institution will notify the Medical
Designator upon completion of evaluation or treatment. Approval
will be given for a secondary designation at that time. This
approval will be based on medical requirements of the inmate
and resources of the secondary designation.

20. POPULATION MANAGEMENT. The Assistant Director, Correctional
Programs Division periodically reviews each institution’s Rated
and Designation Capacities. Occasionally, it is necessary to
impose a moratorium or population cap on a particular
institution to avoid or reduce overcrowding. The Assistant
Director, Correctional Programs Division, with the approval of
the Population Management Subcommittee of the Executive Staff,
may impose a moratorium on other facilities including the
Medical Referral Center general population units. The Assistant
Director, Health Services Division, with the approval of the
Population Management Subcommittee of the Executive Staff, may
authorize a moratorium or population cap for Medical Referral
Centers (excluding general population).

  a.     Referral Procedures

     (1) The Warden of the institution recommends to
the Regional Director that a moratorium or population
cap be established.

     (2) The Regional Director reviews the request, and if
in agreement, contacts the Assistant Director, Correctional
Programs Division, or the Assistant Director, Health
Services Division, and either requests a population cap or
total moratorium.

  A population cap places a ceiling on the number of inmates
that can be designated to a facility. A total moratorium is
defined as a complete cessation of all initial designations
and redesignations to an institution or DFCL assignment.
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  In extreme circumstances, the Assistant Director, Correctional
Programs or Health Services Division with concurrence of the
Subcommittee may direct that inmates en route to a facility be
redesignated. When a moratorium or population cap is imposed, a
termination date will be established. The cap or moratorium will
be terminated on that date unless the Regional Director contacts
the appropriate Assistant Director, Correctional Programs or
Health Services Division, and obtains an extension.

     (3) The appropriate Assistant Director will issue
a GroupWise e-mail notifying the DSCC Administrator and
Chief Executive Officers of the cap or moratorium.

21.   INSTITUTIONS WITH SPECIAL MISSIONS

  a. FCI Oakdale. The Bureau, ICE, and the Executive Office for
Immigration Review (EOIR) work closely together to meet the
requirements of the Immigration Reform and Control Act of 1986,
by ensuring the expeditious review of criminal aliens for
deportation. Beds are available for federally sentenced aliens,
who are subject to administrative proceedings under the
Immigration and Naturalization Act. Such inmates are transferred
to FCI Oakdale for disposition of their ICE detainer prior to
completion of their federal sentence.

  Mexican and Cuban nationals are not eligible for the Oakdale
Criminal Alien Program. The following procedures apply for the
actual selection and designation of inmates to the Oakdale
Criminal Alien Program.

     (1) The ICE Officer in Charge at FCI Oakdale will monitor
the inmate male population via SENTRY to identify criminal
aliens appropriate for the program at FCI Oakdale.     After they
have been identified, ICE staff will place a detainer on these
individuals through the DSCC.                Each week DSCC staff
will compile a list of the criminal aliens who are to be
released within the next year. A courtesy list will be
submitted, via GroupWise, to FCI Oakdale for monitoring
purposes.

     (2) ICE staff at FCI Oakdale will forward to DSCC staff
information on alien inmates via GroupWise to assist in the
movement of inmates to FCI Oakdale at a later date. The movement
of inmates to FCI Oakdale will be authorized and coordinated by
the DSCC. DSCC staff will ensure CIM clearance is obtained and
the Custody Classification form reflects appropriate use of any
Management Variable.

     (3) Inmates will be redesignated no later than seven
months from a firm projected release date. Once approved for
transfer,
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institution and transportation staff will immediately schedule
the inmate for movement to FCI Oakdale. Institution staff will
notify the Oakdale CMC if the inmate is not en route within 15
working days of the transfer approval. The central file should
contain a current Progress Report and all pertinent case
management activities should be completed prior to transfer
including fines and the ordering of parole certificates, when
applicable, or preparation of other release documents as
required.

     (4) ISM staff will ensure any other detainers lodged
against those inmates approved for transfer are resolved and
the detaining authority notified before the inmate is
transferred to FCI Oakdale.

     (5) Because of unforeseen circumstances, some criminal
aliens may be inappropriate for transfer to FCI Oakdale. ICE
staff at FCI Oakdale will notify DSCC staff when this occurs
and will advise of any additional action necessary to
coordinate the resolution of the inmate's citizenship/release
status. Conversely, institution staff are to contact DSCC staff
if they believe a transfer should not occur.              If the
transfer is deemed inappropriate, DSCC staff will delete the
Oakdale "DST" transfer approval.

     (6) The Detention Services Branch, Correctional
Programs Division, Central Office will assist with
coordination of the Oakdale Criminal Alien Program and will
act as the primary liaison with ICE and EOIR Headquarters on
matters of mutual interest affecting the program's
development and/or modification. Any questions regarding
these matters should be directed to that office.

  b. USP Marion/ADX Florence. USP Marion/ADX Florence general
population units are designed for male inmates who have
demonstrated an inability to function in a less restrictive
environment without being a threat to others, or to the secure
and orderly operation of the institution.

     (1) Referral Procedures and Criteria. Prior to referring
an inmate to USP Marion or ADX Florence, redesignation to
another high security institution should be considered first.
          If transfer to another institution is not
appropriate, Wardens will refer the proposed USP Marion or ADX
Florence case to North Central Regional Director. The North
Central Region will designate the inmate as appropriate.

  Assignment to USP Marion or ADX Florence will ordinarily be
made without regard for such factors as release destination or
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program needs, such as education and vocational training. Prior
to transfer to USP Marion or ADX Florence, staff at the sending
institution will ensure that the inmate is assigned Maximum
custody. While in transit to USP Marion or ADX Florence, inmates
will be housed and provided visiting, correspondence, and
telephone privileges as if confined at USP Marion or ADX
Florence.

  Inmates currently diagnosed as suffering from serious
psychiatric illnesses should not be referred for placement at
either USP Marion or ADX Florence.

     (2) Referral Packet for USP Marion or ADX Florence. The
referral packet for either USP Marion or ADX Florence general
population will include the following items:

       (a) A memorandum from the Warden to the North
Central   Regional    Director  with  the   specific
rationale       supporting     the     institution's
recommendation;

       (b) Copies of all disciplinary reports,
investigative materials or other official documentation
related to the behavior prompting the referral;

       (c)   A current Progress Report;

       (d) A copy of the inmate's latest Presentence
Investigation Report; and,

       (e)   A recent psychiatric or mental health evaluation.

     Inmates with severe or chronic behavior patterns that
cannot be addressed in any other Bureau institution should be
referred to ADX Florence general population, and those who
are somewhat less problematic should be referred to USP
Marion. In describing the reasons underlying the referral, the
Warden should explain why he or she has selected USP Marion
or ADX Florence, respectively.

     (3) Acceptance or Rejection of Referrals. The North
Central Regional Director has final review authority for
referrals to the USP Marion and ADX Florence general
population units.                                In some cases,
the Regional Director may approve placement at USP Marion
when a referral has been submitted for ADX Florence and vice
versa.

     A response to a recommendation for USP Marion or ADX
Florence placement will ordinarily be made by the North Central
Regional Director within 60 calendar days after receiving the
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referral packet from the referring institution. Approval or
denial will be noted in SENTRY on the inmate's “CIM
Clearance and Separatee Data” screen, with a brief
memorandum from the North Central Regional Director to the
requesting Warden to follow.

     (4) Transfer from USP Marion or ADX Florence. Once an
inmate successfully completes the USP Marion or ADX Florence
program, the Warden will submit a transfer request to the North
Central Regional Director. Upon the North Central Regional
Director’s approval the request will be forwarded to the DSCC
for determination of an appropriate facility.        Inmates will
ordinarily be transferred from USP Marion or ADX Florence using
Code 308 - Lesser Security. Ordinarily, inmates completing the
ADX Florence program will be transferred to a High Security
facility, other than USP Marion.

      (5) USP Marion Failures. Inmates who continue to exhibit
disruptive misconduct at USP Marion may be considered for
referral to ADX Florence general population or the Control
Unit.

  c.     FMC Carswell Administrative Unit

     (1) Initial Designations. Initial designations may only
occur in extraordinary situations by DSCC staff.

     (2) Redesignation Criteria. The FMC Carswell
Administrative Unit is designed to house females
exhibiting any of the following:

       •     A history of escape or attempted escape from
             a secure institution;

       •     Demonstrated repeated incidents of
             assaultive or predatory behavior;

       •     Demonstrated chronic behavior problems; and/or

       •     Special management concerns.

     (3) Referral for transfer to the FMC Carswell
Administrative Unit will be submitted via the Request
for Transfer/Application of Management Variable (409) to
the DSCC Administrator.

     (4) Acceptance or Rejection of Referrals. The DSCC
Administrator has final review authority for referrals
to FMC Carswell Administrative Unit.
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                               TRANSFER CODES
CODE                            DESCRIPTION
276      FURLOUGH TRANSFER: Unescorted furlough transfer to a CCC.
307      INSTITUTION CLASSIFICATION: Transfer to an institution with
         greater security (e.g., Low to Medium).
308      INSTITUTION CLASSIFICATION: Transfer to an institution with
         less security (e.g., High to Medium).
309      DISCIPLINARY: Transfer as a result of an act(s) of misconduct
         related to documented poor institutional adjustment.   See
         Program Statement on Discipline and Special Housing Unit.
313      NEARER RELEASE: Transfer for the purpose of placing an inmate
         in an institution nearer the release destination or to
         facilitate the release process.
314      TRAINING PURPOSES: Discontinued (Use Code 324).
315      TRAINING COMPLETED: Discontinued (Use Code 325).
316      TEMPORARY TRANSFER: Transfer to the custody of U.S. Marshals
         or local authority.
317      RELIEVE OVERCROWDING: Transfer to relieve overcrowding at a
         facility.
318      INCREASE POPULATION: Transfer to build a population, usually
         upon activation of a new facility.
319      DRUG ABUSE PROGRAM: Transfer to participate in a specialized
         Drug Abuse Program.
320      WORK/STUDY RELEASE: Discontinued.
321      TRANSFER TO CONTROL UNIT: Transfer to Control Unit (see
         Chapter 7, Section 4).
322      TRANSFER FROM CONTROL UNIT: Transfer from Control Unit (See
         Chapter 7, Section 4).
323      CLOSE SUPERVISION CASE: Transfer as a result of an
         investigation that indicates a safety, security, or escape
         risk. Includes verified and unverified protection cases.
324      PROGRAM PARTICIPATION: Transfer for a parole hearing or to
         participate in a specialized program.
325      PROGRAM COMPLETED/WITHDRAWAL/REMOVAL: Return to the original
         institution following the completion, withdrawal, or removal
         from a specialized program.
326      CONCURRENT SERVICE IN NON-FEDERAL FACILITY: Transfer to non-
         federal facility (excluding CCC) for service of concurrent
         federal and state sentences.
327      BOARDING IN NON-FEDERAL FACILITY: Transfer to non-federal
         facility (excluding CCC) for service of federal sentences
         only.
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                               TRANSFER CODES
CODE                             DESCRIPTION
328      RETURN FROM NON-FEDERAL FACILITY: Return from non-federal
         facility to federal institution for service of federal
         sentence only.
330      ADJUSTMENT PURPOSES: Transfer for the purpose of placing the
         inmate in a new setting due to poor institutional adjustment
         or CIM concerns. This code differs from a 323 Close
         Supervision Transfer in that an SIS investigation is not
         normally conducted.
331      TRANSFER FOR MEDICAL TREATMENT: Transfer from general
         population for the purpose of obtaining medical/physical
         treatment in a Medical Referral Center.   Requires a change to
         a CARE 4 assignment.
332      MEDICAL TREATMENT COMPLETED: Return from Medical Referral
         Center to general population after treatment for
         medical/physical treatment. Requires a change from CARE 4
         assignment to a lesser care level assignment.
333      TRANSFER FOR PSYCHOLOGICAL/PSYCHIATRIC EVALUATION: Transfer
         from general population for the purpose of obtaining
         psychiatric treatment in a Medical Referral Center.   Requires
         a change to a CARE 4 assignment.
334      PSYCHOLOGICAL/PSYCHIATRIC EVALUATION COMPLETED: Return from a
         Medical Referral Center to general population after obtaining
         psychiatric treatment. Requires a change from CARE 4
         assignment to a lesser care level assignment.
335      TRANSFER FOR HOSPITALIZATION AND TREATMENT: Transfer between
         BOP Medical Referral Centers for continued medical/physical or
         psychiatric treatment. (SPG to BUT). CARE 4 assignment
         remains intact.
336      HOSPITALIZATION AND TREATMENT COMPLETED: Discontinued (See
         Code 332).
337      OTHER: This category may be used only when no other transfer
         code above applies. (DISCONTINUED)
338      DECREASE IN MEDICAL CARE LEVEL: Transfer used when there has
         been a decrease in the inmate’s medical care level and the
         inmate no longer requires the higher level of medical
         services.  This code is to be used when the transfer occurs
         between non-MRC institutions and when there is a decrease from
         the CARE assignments 2 and 3 only.
339      INCREASE IN MEDICAL CARE LEVEL: Transfer used when there has
         been an increase in the inmate’s medical care level and inmate
         is being transferred for the sole purpose of requiring
         increased medical resources. This code is to be used when the
         transfer occurs between non-MRC institutions and when there is
         an increase from the CARE assignments 1 and 2 only.
369      FACILITY REORGANIZATION: Transfer based on a mission change of
         the institution.
